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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ---------------------------------------------------------------X
 MANUEL REYNOSO and LUIS RODRIGUEZ,
 individually and on behalf of others similarly situated,
                                                                           JUDGMENT

                                    Plaintiffs,                            20-cv-3010 (BMC)
         v.

 JACK’S EGGS AND OTHER INGREDIENTS LLC
 (D/B/A JACK’S EGG FARM), JACK NEUSTADT,
 and MORDECAI NEUSTADT,

                                    Defendants.
 ---------------------------------------------------------------X
         A notice of acceptance of a Rule 68 Offer of Judgment having been filed on May 24,

2021; and Defendant JACK’S EGGS AND OTHER INGREDIENTS LLC, having offered to

allow judgment in this action to be taken against them and in favor of plaintiffs MANUEL

REYNOSO and LUIS RODRIGUEZ, in the total gross amount of Seventy-Five Thousand

Dollars ($75,000.00), inclusive of all attorney’s fees, costs and expenses incurred by Plaintiff in

prosecuting the Subject Complaint; and an Order of the Honorable Brian M. Cogan, United

States District Judge, having been filed on May 24, 2021, directing the Clerk of Court to enter

judgment accordingly; it is

        ORDERED and ADJUDGED that Judgment is entered in favor of Plaintiffs MANUEL

REYNOSO and LUIS RODRIGUEZ and against Defendant JACK’S EGGS AND OTHER

INGREDIENTS LLC, n the total gross amount of Seventy-Five Thousand Dollars ($75,000.00),

inclusive of all attorney’s fees, costs and expenses incurred by Plaintiff in prosecuting the

Subject Complaint.

Dated: Brooklyn, New York                                           Douglas C. Palmer
       June 1, 2021
                                                              By:    /s/Jalitza Poveda
                                                                     Deputy Clerk
